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Dental & Orthodontics

To whom this may concern,

Vi is our orthodontic patient, who needs to be in treatment for 18 months.

It is extremely important for Mito attend her appointments once a month to

continue her progress. Unfortunately, her treatment has been delaying and MMB bas missed multiple
appointments due to Ms. Melanie’s Brown disagreement to continue orthodontia for Mg According to Ms.
Brown, Mr. Belafonte has an active restraining order for domestic abuse and cannot make decisions without her
consent and refuses to have Mjjjjscen at our office. Attached are notes/treatment plan from our
Orthodontist. Dr. Yousefzadeh, where it explains why MBB needs orthodontic treatment. If her treatment
extends more than 18 months, it will be an additional fee for Mr. Belafonte apart from payments he has already
made .We hope to see ME: soon as possible to complete her treatment.

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